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                                          IN THE UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF MARYLAND


  UNITED STATES OF AMERICA                                    *
                                                              *
                                                              *           Criminal No. JFM-09-0363
                       v.                                     *           Civil No. - JFM-16-23l9
                                                              *
  LIONAL HOLLOWAY                                             *
                                                           ******
                                                     MEMORANDUM


                Plaintiff has filed this motion to vacate pursuant to 28 U.S.C. 92255. The motion will be

  denied.

                First, this is a second motion filed by Holloway pursuant to 28 U.S.C. 92255. He filed a

  motion for authorization to file successive application for post-conviction relief with the U.S.

  Court of Appeals for the Fourth Circuit but this motion was denied.

                Second, the motion for Section 2255 relief is without merit. He has three prior serious

  drug convictions. Thus, he is an armed career criminal, and he is not entitled to relief under the

  Johnson case.

                A separate order denying Holloway's motion is being entered herewith.




  Date:        1-"'1        1')7'1)   7               ~~I"':K
                                                    J. E edenck Motz
                                                    United States District Judge



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